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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION


In re:                                )               Case No.: 20-17697-LMI
                                      )
ERNESTO VARAS,                        )               Chapter 13
                                      )
               Debtor.                )
                                      /

         OPPOSITION TO MOTION FOR CONTEMPT AND IN THE ALTERNATIVE
            MOTION FOR RETROACTIVE RELIEF FROM AUTOMATIC STAY

          COMES NOW, Non-Party, DOLORES LOLA MONTADAS (hereinafter, “Montadas”),

and her counsel PAUL PLATTE, by and through undersigned counsel, and hereby file this

Opposition to the Motion for Contempt filed by Debtor, and request in the alternative that the

Court retroactively lift the automatic stay if such stay was ever in place with respect to Montadas’

intentional tort/sexual harassment claims against Debtor, and state the following in support thereof:

          1.   Montadas worked for the Debtor, who is a lawyer licensed in the State of Florida,

from July 2019 to May 2020, as a clerical employee. During her employment, Debtor, ERNESTO

VARAS (hereinafter, “Varas”), intentionally forced Montadas to watch pornographic videos in the

office of Debtor’s girlfriend having sex with another man. Debtor ordered Montadas to place ads

in the newspaper for prostitutes to come into the office for Debtor. Debtor engaged in intentional

sexual harassment and intentional infliction of emotional harm on Montadas.

          2.   On October 8, 2020, Montadas filed a charge of intentional sexual harassment with

United States Equal Employment Opportunity Commission (“EEOC”) and the Miami-Dade

Commission on Human Rights (“MDCHR”) and emailed a copy of the charge to Debtor’s lawyer.

On August 18, 2021, the MDCHR found that Debtor committed intentional sexual harassment of


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Montadas (forcing Montadas to watch pornographic videos and soliciting prostitutes to come into

the office for Debtor).

        3.     On March 25, 2022, Montadas filed a lawsuit in the Circuit Court in and for Miami-

Dade County, Florida, to enforce the MDCHR ruling and for intentional infliction of emotional

harm.

        4.     On July 16, 2020, Debtor filed a Chapter 13 Petition for Bankruptcy. Since then,

Debtor has filed four amended schedules of assets and liabilities. On March 15, 2021, the Chapter

13 case was dismissed.

        5.     On March 19, 2021, Debtor refiled the Chapter 13 case. On April 8, 2021, the

Chapter 13 case was reinstated.

        6.     Over the course of one-and-a-half years, in neither the two (2) Chapter 13 petitions

nor in the four (4) amended schedules of assets and liabilities, did Debtor ever once list Montadas’

intentional sexual-harassment case filed with MDCHR or in any other way refer to Montadas’

claim of intentional sexual harassment.

        7.     Although Montadas’ MDCHR case has been pending since October 8, 2020, Debtor

never filed a motion to stay that case.

        8.     In Debtor’s summary of assets and liabilities, Debtor listed “Montradas, c/o Paul

Platter, Esq. at 311 Court Harrison Ave., Suite 252, Clearwater, FL 33756." The undersigned

Attorney Platte has never had that address. Montadas and the undersigned Attorney Platte’s names

are misspelled. Neither Montadas nor Attorney Platte have ever received any papers from the

Bankruptcy Court.

        9.     In Debor’s summary of assets and liabilities, Debtor listed an “unknown,”

“unsecured” claim by “Montradas”, never specifying what the claim was about (e.g. unpaid taxes,



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back wages,) and never specifying the case filed with the MDCHR, despite the fact that Debtor

had notice of the MDCHR case since October 8, 2020.

       10.     Claims of sexual harassment and intentional torts are not dischargeable in

bankruptcy. In re Spagnola, 473 B.R. 518 (SDNY 2012); In re Deluty, 540 B.R. 41 (EDNY 2015);

In re Nolan, 2016 WL 11708101 (MDFLA 2016).

       11.     During the time that Debtor’s bankruptcy case was dismissed, there was no

automatic stay of Montadas’ MDCHR case. In re Liebman, 2017 WL 6550498 (SDFLA 2017).

       12.     Montadas did not have knowledge that her sexual harassment claim was part of the

bankruptcy case because it has never been listed on a bankruptcy schedule, and her sexual

harassment claim and intentional tort claims are not dischargeable by bankruptcy. Accordingly,

Montadas and her attorney were and are of the belief that her claim against Debtor is not a part of

the present Chapter 13 Plan and not subject to any stay or other prohibition under the Bankruptcy

Code. For these reasons, Montadas and her counsel request that the Court deny the present Motion

for Contempt filed by the Debtor.

       13.     If anything, it is the Debtor who has engaged in bad faith in his bankruptcy case by

never listing Montadas’ sexual harassment case on a schedule, never moving for a stay of

Montadas’ case, and lulling Montadas into believing her sexual harassment claim is not

dischargeable in bankruptcy, while now suddenly requesting that the Court enter a contempt

finding against Montadas and her counsel.

       14.     Moreover, if the Court is of the opinion that Montadas claim is subject to the

automatic stay, then Montadas requests that the Court lift the stay retroactively so as to allow her

to proceed with the action she has filed to enforce the decision of the MDCHR and liquidate the

amount of her damages.



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       15.     Montadas will testify that there is equity in the property of the estate. That property

is necessary for an effective reorganization.

       16.     As detailed above, there are able grounds for retroactive relief from the automatic

stay as a request to lift the stay would likely have been granted earlier if Montadas had been given

proper notice that her sexual harassment case was part of the bankruptcy case.

       17.     Failure to grant retroactive relief would cause unnecessary expense and prejudice

to Montadas.

       18.     Debtor’s failure to provide Montadas or the undersigned attorney proper notice of

the bankruptcy, failure to list Montadas’ sexual harassment case in the bankruptcy court, and

failure to move for an automatic stay prior to now, Montadas has detrimentally changed her

position by not participating in the bankruptcy case and by filing the case against Debtor in with

the MDCHR, and by filing an action in Circuit Court.

       19.     Retroactive relief from any automatic stay is appropriate. In re Liebman, 2017 WL

6550498 (SDFLA 2017); In re Stockwell, 262 B.R. 275, 281 (D. VT. 2001).

       WHEREFORE, Montadas and her counsel request that the Court deny the present Motion

for Contempt and in the alternative, if the Court deems Montadas’ claim to be subject to the stay,

move for the Court to retroactively lift the automatic stay so as to allow her to proceed with her

action to enforce the findings of the MDCHR.

       Dated this 18th day of July 2022.

                                                   Respectfully submitted,

                                                   /s/ J. Andrew Meyer
                                                   J. Andrew Meyer, Esq.
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 18th day of July 2022, I electronically filed the foregoing

Opposition to Motion for Contempt and in the Alternative Motion for Retroactive Relief from

Automatic Stay via the CM/ECF Portal, which will generate a Notice of Electronic Filing to the

following:

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                                                /s/ J. Andrew Meyer
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